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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

  In re:

  CAROLINA DEL VALLE MOLINA,                          Case Number 19-23739-RAM
                                                      Chapter 13
        Debtor(s).
  _____________________________________/


              GLORIA MOLINA’S MOTION FOR PROTECTIVE ORDER

Movant requests that this matter be set for hearing on June 16, 2020 at 9:00 a.m. along
                        with other related matters in this case.

       GLORIA MOLINA, by and through undersigned counsel, pursuant to Rule 7026 of the

Federal Rules of Bankruptcy Procedure and Local Rule 2004-1(C), hereby files her Motion for

Protective Order and states:

                                       BACKGROUND

       1. This is a Chapter 13 case which was filed on October 14, 2019.

       2. Face Bank International Corporation (“Face Bank”) holds the mortgage secured against

the Debtor’s homestead property.

       3. The Debtor and Face Bank engaged in this Court’s Mortgage Mediation Modification

program. The review resulted in a denial.

       4. The Debtor modified her plan to propose a cure and maintain plan for Face Bank. The

First Modified Plan which cures and maintains Face Bank is at D.E. 77.

       5. The Debtor’s mother, Gloria Molina (“Mrs. Molina”) has agreed to assist her daughter

financially each month so that her daughter can maintain her home.

       6. Mrs. Molina executed an Affidavit of Support which was filed at D.E. 79.

       7. Face Bank then filed a Notice of Bankruptcy Rule 2004 Videotaped Examination

Duces Tecum of Gloria Molina [D.E. 80].
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                                       LEGAL ARGUMENT

          8. Rule 7026(c) of the Federal Rules of Bankruptcy Procedure empowers the Court to

issue a protective order prohibiting discovery to protect a party from “annoyance, embarrassment,

oppression or undue burden.”

          9. The duces tecum in the Rule 2004 examination asks for extensive financial documents

including proof of income, bank statements, tax returns, evidence of any assets, contracts, etc. for

over the last four years of Mrs. Molina’s life. The request also asks for proof of support Mrs.

Molina has provided to her daughter over the last five years.

          10. There is no doubt that Face Bank’s request of Mrs. Molina’s finances is made for the

sole purpose of annoyance and to create an undue burden. Mrs. Molina’s finances for the last four

years have no bearing on her ability to support her daughter today.

          11. Additionally, setting Mrs. Molina for a Rule 2004 Examination, is simply a tactic to

create embarrassment and strain between Mrs. Molina and the Debtor.

          12. Mrs. Molina should not be punished with the undue burden of having to produce four

years worth of financial documents and to sit for a deposition when she is solely assisting her

daughter in keeping her home – as any mother who is able to do, would do.

          13. Finally, Face Bank notices this Rule 2004 examination without clearing the date with

undersigned counsel and undersigned counsel has conflicts and is unable to attend an examination

on the currently noticed date.

          14. A review of Face Bank’s involvement in this bankruptcy case along with the actions

its taken against Mrs. Molina clearly show that Face Bank’s intent here is to frustrate and annoy

the Debtor since the Debtor was able to find a way to resolve Face Bank’s mortgage and keep her

home.

          15. Pursuant to Local Rule 2004-1(c), Mrs. Molina’s Rule 2004 examination is stayed until

the court rules on this Motion.
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          WHEREFORE, GLORIA MOLINA, respectfully requests that his court issue a

protective order prohibiting Face Bank’s discovery against Mrs. Molina and for any other relief

deemed just and proper in the circumstances.


                                        CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing was sent on June 5,
2020, via CM/ ECF to the parties listed below and to all parties registered to receive notice via
CM/ECF:
                 Nancy K. Neidich, Chapter 13 Trustee
                 Office of the United States Trustee
                 Face Bank International Corporation, c/o Leyza F. Blanco, Esq.


             CERTIFICATE PURSUANT TO                        KINGCADE & GARCIA, P.A
               LOCAL RULE 9011-4(B)                         Counsel for the Debtor and Gloria Molina
                                                            Kingcade Building
                I HEREBY CERTIFY that I am                  1370 Coral Way ▪ Miami, Florida 33145-2960
           admitted to the Bar of the United States         WWW.MIAMIBANKRUPTCY.COM
           District Court for the Southern District of      Telephone: 305-285-9100 ▪ Facsimile: 305-285-9542
           Florida and I am in compliance with the
           additional qualifications to practice in         /s/ Timothy S. Kingcade
           this Court set forth in Local Rule 2090-
                                                            x Timothy S. Kingcade, Esq., FBN 082309
           1(A).
                                                            □ Wendy Garcia, Esq., FBN 0865478
                                                            □ Jessica L. McMaken, Esq., FBN 580163
